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                  8
                  9                         UNITED STATES DISTRICT COURT
                 10                        CENTRAL DISTRICT OF CALIFORNIA
                 11
                 12   CAPITOL RECORDS, LLC, a Delaware          CASE NO. CV-08-8030 JST (JCx)
                      limited liability company; CAROLINE
                 13   RECORDS, INC., a New York                 The Honorable Josephine Staton Tucker
                      Corporation; EMI CHRISTIAN MUSIC
                 14   GROUP INC., a California Corporation      DECLARATION OF ALASDAIR
                      PRIORITY RECORDS, LLC, a                  MCMULLAN IN SUPPORT OF
                 15   Delaware limited liability company;       MOTION OF PLAINTIFFS FOR
                      VIRGIN RECORDS AMERICA, INC.,             PARTIAL SUMMARY JUDGMENT
                 16   a California Corporation; and NARADA      ON THE FIRST, SECOND, THIRD,
                      PRODUCTIONS, INC., a Wisconsin            AND FOURTH COUNTS
                 17   corporation,
                                                                Exhibits 1-3 and 5-12 Filed Herewith;
                 18                Plaintiffs,                  Exhibit 4 Filed Separately; and
                                                                Exhibits 13-28 Filed Under Seal
                 19         v.
                                                                [Memorandum of Points and Authorities,
                 20   BLUEBEAT, INC., a Delaware                Statement of Uncontroverted Facts and
                      corporation, doing business as            Conclusions of Law, Declarations of
                 21   www.bluebeat.com; MEDIA RIGHTS            James D. Berkley, Emily Evitt, Pietro
                      TECHNOLOGIES, INC., a California          Perona, Bruce Ward, Thomas Schlum
                 22   corporation; BASEBEAT, INC., a            and Marc Mayer Filed Concurrently
                      Delaware corporation, doing business as   Herewith]
                 23   www.bluebeat.com; and HANK RISAN,
                      an individual; and DOES 1 through 20,     Date:    October 4, 2010
                 24                                             Time:    10:00 a.m.
                                   Defendants.                  Ctrm:    16 (Spring Street Courthouse)
                 25
                                                                Trial: December 14, 2010
                 26                                             Pre-Trial Conference: Nov. 19, 2010
                 27
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2876332.1             DECLARATION OF ALASDAIR MCMULLAN IN SUPPORT OF MOTION OF PLAINTIFFS FOR PARTIAL
                             SUMMARY JUDGMENT ON THE FIRST, SECOND, THIRD, AND FOURTH COUNTS
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                 1                   DECLARATION OF ALASDAIR MCMULLAN
                 2
                 3         I, Alasdair McMullan, the undersigned, hereby declare:
                 4
                 5          1.     I am the Executive Vice-President of Legal Affairs of EMI Music
                 6 North America ("EMI"). I have been employed by EMI since 1995. In my
                 7    capacity as in-house counsel for EMI, among other things, I manage and supervise
                 8 litigation for EMI and its record label affiliates, including but not limited to Capitol
                 9 Records, LLC (formerly Capitol Records, Inc.), Caroline Records, Inc., EMI
                 10 Christian Music Group Inc., Priority Records, LLC, Virgin Records America, Inc.,
                 11 and Narada Productions, Inc. (collectively the "EMI Record Companies" or
                 12 "Plaintiffs"). In coimection with my employment at EMI, I have become familiar
                 13 with the books and records of EMI, including documents such as copyright
                 14 certificates and agreements (including those referenced in this Declaration)
                 15 pursuant to which EMI possesses rights in its sound recordings. I make this
                 16 declaration in support of Plaintiffs' Motion for Summary Judgment against
                 17 BlueBeat, Inc., Media Rights Technologies, Inc., BaseBeat, Inc., and Hank Risan
                 18 (collectively "BlueBeat" or "Defendants"). If called upon to do so, I could and
                 19 would competently testify to the matters stated herein.
                 20
                 21          2.    Plaintiffs are engaged in the business of producing sound recordings
                 22 and distributing, selling, and/or licensing the production, distribution, sale, and
                 23 performance of their sound recordings in phonorecords, in audiovisual works, and
                 24 for streaming and downloading over the Internet. Plaintiffs invest substantial time,
                 25 money, effort and creative talent in discovering and developing recording artists,
                 26 and in creating, advertising, promoting, selling and licensing their catalog of sound
                 27 recordings.
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                  1         3.     Plaintiffs are the owners of copyrights in and to a catalog of sound
                 2 recordings first fixed after February 15, 1972 (the "Copyrighted Recordings").
                 3 Among the Copyrighted Recordings owned by EMI are each of the recordings
                 4 identified in Exhibit 1 to this Declaration.
                 5
                 6          4.     EMI also possesses exclusive ownership rights in sound recordings of
                 7    musical performances that were initially "fixed" (j.e., recorded) prior to February
                  8   15, 1972 ("Pre-1972 Recordings"). Among the Pre-1972 Recordings owned by
                 9 EMI are each of those identified in the Schedule attached as Exhibit 2 to this
                 10 Declaration. Among the Pre-1972 Recordings are all of the sound recordings by
                 11 the Beatles, including the recently released "remastered" (and sonically improved)
                 12 editions of the Beatles' original recordings.
                 13
                 14                        THE COPYRIGHTED RECORDINGS
                 15
                 16          5.    As the owner of copyrights in the Copyrighted Recordings, EMI
                 17 possesses (and exploits) their exclusive rights, among other things, to reproduce
                 18 the Copyrighted Recordings in copies or phonorecords, to distribute copies or
                 19 phonorecords of the Copyrighted Recordings to the public, to perform the
                 20 Copyrighted Recordings publicly by means of a digital audio transmission, and to
                 21 license these exclusive rights, including the exercise of these rights over the
                 22 Internet. EMI has obtained Certificates of Copyright Registration in each of the
                 23 Copyrighted Recordings.
                 24
                 25          6.    EMI also owns copyrights in original cover artwork and images with
                 26 which the Copyrighted Recordings have been sold and marketed (the "Copyrighted
                 27 Artwork"). Certain of the SR Certificates attached hereto as Exhibits 4 through 12
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                 28   specifically provide that they include registration for the Copyrighted Artwork.
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                  1 For ease of reference, those Certificates of Copyright Registration that include the
                 2 Copyrighted Artwork have been designated as such in the column entitled "Cover
                 3 Art" in Exhibit 1 to this Declaration.
                 4
                 5          7.     I will next discuss the ownership of the Copyrighted Recordings by
                 6    each of the individual EMI Record Companies.
                 7
                  8                                   Capitol Records, Inc.
                 9
                 10         8.     Attached to this declaration as Exhibit 3 is a spreadsheet identifying
                 11 624 sound recordings in which plaintiff Capitol Records, LLC ("Capitol"), and/or
                 12 its affiliates own copyrights (the "Capitol Recordings"). Each of the Capitol
                 13 Recordings has been registered with the U.S. Copyright Office. True and correct
                 14 copies of the Certificates of Copyright Registration for the Capitol Recordings (or,
                 15   in a few limited cases printouts from the Copyright Office website reflecting the
                 16 existence of these Certificates) are attached to this declaration, collectively, as
                 17 Exhibit 4.
                 18
                 19          9.    Capitol Records, LLC formerly was known as Capitol Records, Inc.
                 20 On April 1, 2008, Capitol Records, Inc. was converted into an LLC, and its name
                 21 was changed to Capitol Records, LLC. 375 of the Certificates of Copyright
                 22 Registration for the Capitol Recordings reflect that Capitol Records, LLC, Capitol
                 23 Records, Inc., or a "division" of Capitol Records is the "copyright claimant."
                 24
                 25          10. 249 of the Certificates of Copyright Registration for the Capitol
                 26 Recordings do not identify Capitol as the "copyright claimant." Capitol owns or
                 27 controls the copyright in all of the works listed in these registrations. For purposes
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                  1   of clarification, I shall briefly explain how Capitol derived its copyright ownership
                 2    in these sound recordings:
                 3
                 4                 (a)    Certain of the Certificates of Copyright Registration for the
                 5    Capitol Recordings identify either SBK Records, Capitol Nashville, Blue Note,
                 6    EMI Latin, EMI Records Group, or Angel Records as the "copyright claimant."
                  7   SBK, Capitol Nashville, Blue Note, EMI Latin, EMI Records Group, and Angel
                  8   Records are fictitious business names (or dlb/a's) under which Capitol conducts
                  9   business. The Copyright Act permits registrations under fictitious business names.
                 10
                 11                (b)    Certain of the Certificates of Copyright Registration for the
                 12   Capitol Recordings identify "EMI Records, Ltd.," "EMI Music Brazil, Ltd," "EMI
                 13   Music France," or "Toshiba/EMI" as the "copyright claimant." Each of these
                 14   entities are current or former foreign affiliates of Capitol. Capitol owns or controls
                 15   exclusive U.S. rights to such recordings by virtue of a written intra-company
                 16   license agreement (referred to internally as the Matrix Exchange Agreement, or
                 17   "MBA"). Pursuant to the MBA, Capitol is the exclusive licensee in the United
                 18   States of the sound recordings owned by each of these affiliated foreign companies
                 19   (and, as the exclusive licensee, has full rights to enforce the copyrights under the
                 20   Copyright Act).
                 21
                 22                (c)    42 of the Certificates of Copyright Registration for the Capitol
                 23   Recordings identify "Chrysalis Records" or "Chrysalis Records, Inc." as the
                 24   "copyright claimant." On December 23, 1993, Terwright Records, Inc., a
                 25   California corporation that was the sole owner of the Chrysalis catalog of sound
                 26   recordings, merged with and into Capitol Records, Inc. As a result of this merger,
                 27   Capitol is the direct holder of all of the Chrysalis' assets, including its catalog of
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                 28   sound recordings.
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                 1                (d) 20 of the Certificates of Copyright Registration for the Capitol
                 2 Recordings identify either "Liberty Records" or "United Artists Records, Inc." as
                 3 the "copyright claimant." In 1978, Capitol acquired all of the stock and assets of
                 4 United Artists Records, Inc., which previously had acquired the catalog of sound
                 5    recordings formerly owned by Liberty Records. Liberty Records, United Artists
                 6    Records, Inc., and Liberty/UA, Inc. were merged into Capitol Records, Inc. on
                 7 March 19, 1981.
                  8
                  9                (e)    16 of the Certificates of Copyright Registration for the Capitol
                 10 Recordings identify one of the following individuals or entities as the "copyright
                 11 claimant": "Anita Baker" (1 Certificate), "Babyshambles" (1 Certificate), "Umlaut
                 12 Corp." (1 Certificate), "DFA" (1 Certificate), "Venusnote" (1 Certificate), "Nemo
                 13 Studios" (3 certificates), "Robert Prizeman" (1 Certificate), and "Les Disques Du
                 14 Catalogues" (1 Certificate). Each of these individuals or entities are affiliated with
                 15 certain specific recording artists, respectively, Anita Baker, Babyshambles, George
                 16 Harrison, LCD Soundsystem, Depeche Mode, Sarah Brightman, Libera, and
                 17 Telepopmusik. Capitol (or one of its foreign affiliates) has entered into exclusive
                 18 agreements with each of these entities, pursuant to which Capitol has exclusive
                 19 rights in the United States (either directly or through the MEA) in these recordings
                 20 and has full rights to enforce the copyrights under the Copyright Act.
                 21
                 22                (f)    3 of the Certificates of Copyright Registration for the Capitol
                 23 Recordings identify "Tritec Music, Ltd" as the "copyright claimant" for recordings
                 24 embodying the recording artist "Duran Duran." On September 22, 1988, EMI
                 25   Records Limited purchased all of the assets of Tritec Music Limited. Capitol is the
                 26 exclusive licensee of these recordings in the United States pursuant to the MEA.
                 27
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                 1                 (g)     1 of the Certificates of Copyright Registration for the Capitol
                 2 Recordings identifies "IRS Records" as the "copyright claimant" for the recording
                 3 artist "Dread Zeppelin." On March 27, 1992, "Seventh Avenue Music, Inc."
                 4 purchased all of the assets of "International Record Syndicate, Inc." On March 30,
                 5    1993, Seventh Avenue Music, Inc. merged into Capitol Records, Inc. As a result
                 6    of the merger, Capitol is the direct holder of all of the assets of Seventh Avenue
                 7 Music, Inc., including its catalog of sound recordings.
                  8
                 9                 (h)     1 of the Certificates of Copyright Registration for the Capitol
                 10 Recordings identifies "Enigma Records" as the "copyright claimant" for the
                 11 recording artist "Hurricane." On April 1, 1989, Capitol-EMI Music, Inc., entered
                 12 into an Asset Purchase and Joint Venture Agreement with Enigma Entertainment
                 13 Corporation (on January 1, 1993, Capitol Records, Inc. was substituted for Capitol-
                 14 EMI Music, Inc. as the shareholder of the joint venture). On September 30, 1994,
                 15 Enigma Entertainment Corporation was formally dissolved and Capitol is the
                 16 successor in interest to certain assets of the joint venture, including the Hurricane
                 17 recordings at issue.
                 18
                 19                (i)     1 of the Certificates of Copyright Registration for the Capitol
                 20 Recordings identifies "Pendulum Records" as the "copyright claimant" for the
                 21 recording artist "Digable Planets." On August 16, 1993, Capitol Records, Inc.
                 22 entered into an agreement with Rogli Entertainment Corp. for the creation of a
                 23 joint venture between the parties known as Pendulum Records. On December 15,
                 24 1995, Capitol Records, Inc. and Rogli Entertainment Corp. entered into an
                 25   agreement whereby the joint venture was terminated and all of the assets of the
                 26 joint venture were transferred to Capitol, including the above referenced Digable
                 27 Planets recordings.
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                 1                                  Caroline Records, Inc.
                 2
                 3          11. Attached to this declaration as Exhibit 5 is a spreadsheet identifying
                 4 26 sound recordings in which plaintiff Caroline Records, Inc. ("Caroline") andlor
                 5    its affiliates own copyrights (the "Caroline Records Recordings"). Each of the
                 6    Caroline Records Recordings has been registered with the U.S. Copyright Office.
                 7 True and correct copies of the Certificates of Copyright Registration (or, in a few
                 8 limited cases printouts from the Copyright Office website reflecting the existence
                 9 of these Certificates) for the Caroline Recordings are attached to this declaration,
             10 collectively, as Exhibit 6.
             11
                 12         12. 7 of the Certificates of Copyright Registration for the Caroline
                 13 Recordings identify Caroline as the "copyright claimant." 19 of the Certificates of
                 14 Copyright Registration for the Caroline Recordings do not identify Caroline as the
                 15 "copyright claimant." Caroline owns the copyright in all of the works listed in
                 16 these registrations. For purposes of clarification, I shall briefly explain how
                 17 Caroline derived its copyright ownership in these sound recordings:
                 18
                 19                (a) 2 of the Certificates of Copyright Registration for the Caroline
                 20 Recordings list "Astralwerks" or "Astralwerks Records" as the "copyright
                 21 claimant" on the copyright registration certificate. Astralwerks is a fictitious
                 22 business name (or dlb/a) under which Caroline conducts business.
                 23
                 24                (b) 8 of the Certificates of Copyright Registration for the Caroline
                 25   Recordings list "Source/Virgin France," "EMI Music Canada," or "EMI Music
                 26 Norway" as the "copyright claimant." Each of these entities are foreign affiliates
                 27 of Caroline. Pursuant to the MEA, Caroline is the exclusive licensee in the United
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                 1   States of the sound recordings owned by each of these affiliated foreign
                2    companies.
                3
                4                 (c)   2 of the Certificates of Copyright Registration for the Caroline
                 5' Recordings identify "XL Recordings" as the "copyright claimant" on the copyright
                6    registration certificate for the recording artist Basement Jaxx. Caroline possesses
                 7   exclusive U.S. rights in these recordings pursuant to an exclusive license
                 8   agreement between XL Recordings Ltd. and Astralwerks.
                 9
                10                (d) 4 of the Certificates of Copyright Registration for the Caroline
                11   Recordings identify "Skint Records" as the "copyright claimant" on the copyright
                12   registration certificate for the recording artist "Fatboy Slim." Caroline possesses
                13   exclusive U.S. rights in these recordings pursuant to an exclusive license
                14   agreement it has with Skint Records Ltd.
                15
                16                (e)    1 of the Certificates of Copyright Registration for the Caroline
                17   Recordings identifies "Moshi Moshi Music Ltd, do EMI Music North America" as
                18   the "copyright claimant" on the copyright registration certificate for the recording
                19   artist "Hot Chip." Caroline possesses exclusive U.S. rights in these recordings
                20   pursuant to an exclusive license agreement between Astraiwerks and Moshi Moshi
                21   Records.
                22
                23                (f)    1 Certificate of Copyright Registration for the Caroline
                24   Recordings identifies "Mawlaw 388 trading as Source UK" as the "copyright
                25   claimant" on the copyright registration certificate for the recording artist "Audio
                26   Bullys." Mawlaw 388 Limited owns the copyright in and to these Audio Bullys
                27   Recordings pursuant to an exclusive artist agreement. Mawlaw 388 is an affiliate
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                  1 of Virgin Records Ltd. Caroline is the exclusive licensee of these recordings in the
                 2 United States pursuant to the MEA.
                 3
                 4                 (g)    1 Certificate of Copyright Registration for the Caroline
                  5   Recordings identifies "Echo Label Ltd." as the copyright claimant for the
                  6   recording artist "Bat For Lashes." EMI Records Limited owns the copyright in
                  7 and to these Bat For Lashes Recordings pursuant to an exclusive artist agreement
                  8 between EMI Records Limited and The Echo Label Limited. Caroline is the
                  9 exclusive licensee of these recordings in the United States pursuant to the MIEA.
                 10
                 11                            EMI Christian Music Group, Inc.
                 12
                 13          13. Attached to this declaration as Exhibit 7 is a spreadsheet identifying
                 14 11 sound recordings in which plaintiff EMI Christian Music Group, Inc. and/or its
                 15 affiliates own copyrights (the "EMI Christian Recordings"). Each of the EMI
                 16 Christian Recordings has been registered with the U.S. Copyright Office. True and
                 17 correct copies of the Certificates of Copyright Registration for the EMI Christian
                 18 Recordings (or, in a few limited cases printouts from the Copyright Office website
                 19 reflecting the existence of these Certificates) are attached to this declaration as
                 20 Exhibit 8. Each of the Elivil Christian Recordings is registered in the name of
                 21 "Forefront Communications." In 1996, Capitol Records, Inc. purchased all of the
                 22 stock and assets of The Forefront Communications Group, Inc. On March 31,
                 23 2007, The Forefront Communications Group, Inc. merged into and with EMI
                 24 Christian Music Group, Inc.
                 25
                 26
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                  1                                  Priority Records LLC
                 2
                 3          14. Attached to this declaration as Exhibit 9 is a spreadsheet identifying
                 4 19 sound recordings in which plaintiff Priority Records LLC andlor its affiliates
                  5   own copyrights (the "Priority Recordings"). Each of the Priority Recordings has
                 6    been registered with the U.S. Copyright Office. True and correct copies of the
                  7   Certificates of Copyright Registration for the Priority Recordings (or, in a few
                  8 limited cases printouts from the Copyright Office website reflecting the existence
                  9 of these Certificates) are attached to this declaration as Exhibit 10.
                 10
                 11                              Vir2in Records America, Inc.
                 12
                 13          15.   Attached to this declaration as Exhibit 11 is a spreadsheet identifying
                 14 246 sound recordings in which plaintiff Virgin Records America, Inc. ("VRA"),
                 15   and/or its affiliates own copyrights (the "VRA Recordings"). Each of the VRA
                 16 Recordings has been registered with the U.S. Copyright Office. True and correct
                 17 copies of the Certificates of Copyright Registration for the VRA Recordings (or, in
                 18 a few limited cases printouts from the Copyright Office website reflecting the
                 19 existence of these Certificates) are attached to this declaration as Exhibit 12.
                 20
                 21          16. Certain of the Certificates of Copyright Registration identify VRA or
                 22 one of its subsidiaries or divisions (including "Narada Productions, Inc.," "Virgin
                 23 Classics," and "Higher Octave Music, Inc.") as the "copyright claimant."
                 24
                 25          17. Certain of the Certificates of Copyright Registration do not identify
                 26 VRA as the "copyright claimant." VRA owns the copyright in all of the works
                 27 listed in these registrations. For purposes of clarification, I shall briefly explain
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                 28   how VRA derived its copyright ownership in these sound recordings:
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                  1                (a) 7 of the Certificates of Copyright Registration for the VRA
                 2 Recordings list "Charisma Records America, Inc." as the "copyright claimant" on
                 3 the copyright registration certificate. Charisma Records America, Inc., a New
                 4 York corporation, merged with and into VRA on March 31, 2004. As a result of
                  5   the merger, VRA is the direct holder of all of the assets of Charisma Records
                  6   America, Inc., including its catalog of sound recordings.
                  7
                  8                (b) 70 of the Certificates of Copyright Registration for the VRA
                  9 Recordings list "Virgin Records, Ltd.," "Virgin Records Espana, SA," "Virgin
                 10 Records Norway," "Virgin France," "Circa Records, Ltd," "EMI Music Germany,"
                 11 "EMI Music France," and "Source" as the "copyright claimant" on the copyright
                 12 registration certificate. Each of these entities are foreign affiliates of VRA. VRA
                 13 is the exclusive licensee of these recordings in the United States pursuant to the
                 14 MEA.
                 15
                 16                (c) 2 of the Certificates of Copyright Registration for the VRA
                 17 Recordings list "Daft Lite" or "Daft Trax" as the "copyright claimant" on the
                 18 copyright registration certificate for the recording artist "Daft Punk." Virgin
                 19 Records Limited, which is a foreign affiliate of VRA, owns the copyright in and to
                 20 these Daft Punk Recordings pursuant to an exclusive artist agreement. VRA is the
                 21 exclusive licensee of these recordings in the United States pursuant to the MEA.
                 22
                 23                (d)    8 of the Certificates of Copyright Registration reflect either
                 24 "Dene Jesmond Enterprises, Ltd." (1 Certificate), "Jaydone Ltd." (3 Certificates),
                 25   "David Bowie" (3 Certificates), and "Jones Music & Labyrinth Entertainment" (1
                 26 Certificate) as the copyright claimants for the recording artists Bryan Ferry, KT
                 27 Tunstall, David Bowie, and Massive Attack, and the "Labyrinth" motion picture
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                 1 soundtrack. VRA is the exclusive licensee of these recordings in the United States
                 2 pursuant to the MEA.
                 3
                 4                (e) 2 Certificates of Copyright Registration for the VRA recordings
                 5   reflect "Aircheology do EMI Music North America" or "Record Makers do IEMI
                 6   Music North America" as the "copyright claimant for the recording artist "Air."
                 7' VRA is the exclusive licensee of these recordings in the United States pursuant to
                 8 the MEA.
                 9
                10                             THE PRE-1972 RECORDINGS
                11
                12          18. Capitol is the owner of each of the Pre-1972 Recordings. This can be
                13 confirmed, for example, by the screenshots of the BlueBeat Website
                14 (www.bluebeat.com ), including those collected by James Berkley and Bruce Ward,
                15 in which the Pre-1972 Recordings are identified as being owned by Capitol or one
                16 of its affiliated entities. In addition, Capitol's ownership of these recordings can be
                17 confirmed via publicly available information included in such sources as
                18 www.allmusic.com (a music reference website known as "Allmusic" and/or the
                19 "All Music Guide"). The All Music Guide is frequently and customarily used in
                20 the industry to identify the label or imprint on which recordings were released.
                21
                22          19. In addition to the foregoing, attached hereto as Exhibits 15 through 31
                23 are true and correct copies of relevant portions of contracts between EMI (or its
                24 predecessors) and the artists (or their representatives), conveying rights in the Pre-
                25   1972 Recordings, as follows:
                26
                27          (a) Exhibit 13: Contracts dated November 12, 1963 and April 1, 1967,
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                  1          (b) Exhibit 14: Contracts dated October 2, 1958, October 2, 1960,
                  2 February 16, 1962, February 7, 1964, and July 24, 1964, between Art Blakey, on
                  3 the one part, and Blue Note Records and/or United Artists Records, Inc., on the
                  4    other part, and extensions to such contracts.
                  5,
                  6          (c) Exhibit 15: Contract dated May 18, 1959, between Bill Evans and
                  7 United Artists Records, Inc.
                  8
                  9          (d) Exhibit 16: Contract dated February 20, 1963, October 15, 1967,
                 10 between John Patton and Blue Note Records, and an extension to the 1967
                 11 contract.
                 12
                 13          (e)    Exhibit 17: Contracts dated January 1, 1953, January 1, 1954, January
                 14 1, 1957, January 1, 1958, November 1, 1965, between Chet Baker, on the one part,
                 15 and Pacific Jazz Record Co., Pacific Enterprises, Inc., World Pacific, and Liberty
                 16 Records, Inc., on the other part, and extensions to the 1965 contract.
                 17
                 18          (f)    Exhibit 18: Contracts dated August 12, 1948, December 21, 1951,
                 19 and February 2, 1959, between Dean Martin and Capitol Records, Inc.
                 20
                 21          (g)     Exhibit 19: Contracts dated April 1, 1953, December 6, 1955, and
                 22 October 12, 1958, between Frank Sinatra and Capitol Records, Inc., and extensions
                 23 to the 1953 contract.
                 24
                 25          (h) Exhibit 20: Contracts dated February 4, 1961, February 4, 1964, and
                 26 August 15, 1969, between Grant Green, on the one part, and Blue Note Records,
                 27 and Liberty/UA, Inc., on the other part, and extensions to such contracts.
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                  1         (i)    Exhibit 21: Contracts dated February 9, 1956, September 9, 1958,
                 2 February 8, 1962, and June 21, 1966, between Julie London and Liberty Records,
                 3 Inc.
                 4
                  5         (j)    Exhibit 22: Contract dated October 1, 1966, between Linda Ronstadt
                 6 (as part of the performing group "The Stone Poneys") and Capitol Records, Inc.
                  7
                            (k) Exhibit 23: Contract dated May 31, 1968, between Lonnie Smith and
                      Blue Note Records, Inc., and extensions to that contract.
                 10
                 11         (1)    Exhibit 24: Contracts dated November 10, 1943, April 2, 1945,
                 12 March 20, 1946, March 28, 1946, May 15, 1946, August 1, 1947, October 15,
                 13 1947, December 15, 1947, January 15, 1949, January 31, 1949, January 16, 1952,
                 14 May 22, 1953, and September 9, 1954, between Nat King Cole and Capitol
                 15 Records, Inc.
                 16
                 17         (m) Exhibit 25: Contract dated October 24, 1967, between the artists
                 18 professionally known as "Quicksilver Messenger Service" and Capitol Records,
                 19 Inc., and certain extensions thereto.
                 20
                 21         (n)     Exhibit 26: Contracts dated February 1, 1968, between the artists
                 22   professionally known as "the Band" and Capitol Records, Inc., and certain
                 23   extensions and amendments thereto.
                 24
                 25          (o)    Exhibit 27: Contracts dated May 24, 1962 and July 16, 1962, between
                 26   the artists professionally known as the "Beach Boys" and Capitol Records, Inc.,
                 27 I and certain extensions and amendments thereto.
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                  1         20.   Several of the contracts referenced above (and attached to this
                 2    Declaration) are between the artist and Blue Note Records, Liberty Records,
                 3    United Artists Records, Inc., or Liberty/UA, Inc. Blue Note was a record label
                 4                            known for releasing many classic jazz recordings
                      founded in the late 1930s,
                  5   (including Art Blakey and Grant Green). Liberty Records and United Artists
                  6   Records were record labels founded in the 1950s. In or about 1965, Blue Note was
                  7   acquired by Liberty Records. Liberty Records was subsequently acquired by
                  8   United Artists Records. In 1979, EMI purchased United Artists Records, including
                  9   Liberty/UA, Inc., and Blue Note Records. Capitol Records, LLC, currently owns
                 10   the master recordings formerly owned by United Artists, Blue Note, and Liberty
                 11   Records, including master recordings featuring Art Blakey, Andrew Hill, Big John
                 12   Patton, Bill Evans, Grant Green, Julie London, and Lonnie Smith.
                 13
                 14         21.    Attached, collectively, hereto as Exhibit 28 is a true and correct copy
                 15   of the relevant portions of certain documents pursuant to which Capitol possesses
                 16   exclusive rights in master recordings recorded by the Beatles, This includes:
                 17
                 18         (a)    A contract dated June 4, 1962, between The Parlophone Company
                 19   Limited and Brian Epstein (former manager of the Beatles), and extensions thereto.
                 20
                 21         (b)    A contract dated January 26, 1967, between (a) The Gramophone
                 22   Company Limited, (b) NEMS Enterprises Limited and Brian Epstein, and (c)
                 23   George Harrison, John Lennon, James Paul McCartney, and Richard Starkey.
                 24
                 25   At the time the foregoing agreements were executed, The Parlophone Company
                 26   Limited and The Gramophone Company Limited were subsidiary record labels of
                 27   the EMI group of companies. The Parlophone Company Limited formally
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                 28   dissolved and EMI Records Limited, a foreign affiliate of Capitol, is the successor
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                  1 in interest of all of its assets. The Gramophone Company Limited formally
                 2 changed its name to EMI Records Limited on July 1, 1973. Capitol is the
                 3 exclusive licensee of the Beatles' recordings in the United States pursuant to the
                 4 . MEA.
                 5
                 6                                  EMI AND BLUEBEAT
                  7
                  8         22. EMI has never authorized any of the Defendants to sell, distribute,
                  9   publicly perform, or otherwise exploit any sound recordings owned or exclusively
                 10 controlled by the EMI Record Companies on the BlueBeat Website, including via
                 11 digital download or digital streaming.
                 12
                 13         23. I understand from Defendants' prior filings in this action that it has at
                 14 various times claimed that its representatives, including Hank Risan, engaged in
                 15 communications with representatives of the Recording Industry Association of
                 16 America, Inc. ("RIAA") concerning the BlueBeat Website. EMI is a member of
                 17 the RJAA, which is a trade association for the recording industry. The RIAA
                 18 represents the interests of the recording industry in various public relations and
                 19 legislative matters (such as with respect to legislation pending before Congress).
                 20 The RIAA also, on occasion, coordinates litigation by its record company members
                 21 on matters in which its members have a collective or shared interest (for example,
                 22 high-profile anti-piracy litigation, such as the litigation against Napster and
                 23 Grokster). The RIAA is not a licensing body and does not possess the authority to
                 24 issue licenses on behalf of any of its members, to bind its members to contractual
                 25   agreements, or to authorize the use of any of its members' sound recordings by
                 26 third parties. EMI specifically has never authorized the RIAA to enter into any
                 27
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                  1   agreements or licenses on its behalf with respect to the use of EMI sound
                 2    recordings on the BlueBeat Website.
                 3
                 4          I declare under the penalty of perjury under the laws of the United States of
                  5   America that the foregoing is true and correct.
                  6
                  7         Executed this         day of September, 2010, at New York, New York.
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                                                                        Alasdair McMullan
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